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                        UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TEXAS
                             SHERMAN DIVISION

 ANDREA COLLARD GONZALES         §
 AND KEVIN WHITT,                §
                                 §
     PLAINTIFFS,                 §
                                 §
 v.                              §                     CIVIL CASE NO. 4:22-cv-416
                                 §
 AMY DANKEL, CHERRIE SILAS, §
 JOHN DOE, OFFICER 1, OFFICER 2, §
 AND OFFICER 3,                  §
                                 §
     DEFENDANTS.                 §                        JURY TRIAL DEMANDED

                      PLAINTIFF’S ORIGINAL COMPLAINT

         COME NOW, Plaintiffs Andrea Collard Gonzales and Kevin Whitt, to file this

their Original Complaint against Defendants Amy Dankel, Cherrie Silas, John Doe,

Officer 1, Officer 2, and Officer 3, and respectfully represent the following.

                                         I.
                                      PARTIES

         1.    Andrea Collard Gonzales is an individual residing in Collin County,

Texas.

         2.    Kevin Whitt is an individual residing in Collin County, Texas.

         3.    Amy Dankel is an elected Trustee and the President of the McKinney

Independent School District Board of Trustees (“MISD Board”) who may be served

with process at 1504 Windsor Dr., McKinney, TX 75072 or wherever she may be

found.




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         4.   Cherrie Silas is a police officer with the McKinney Police Department

who may be served with process at 2200 Taylor Burk Dr., McKinney, Texas 75071 or

wherever she may be found.

         5.   John Doe is, upon information and belief, an employee of the McKinney

Independent School District whose identity will be discovered in the course of this

action and who may be served with process at 4201 S. Hardin Blvd., McKinney, Texas

75070 or wherever he may be found.

         6.   Officer 1 is a police officer with the McKinney Police Department whose

identify will be discovered in the course of this action and who may be served with

process at 2200 Taylor Burk Dr., McKinney, Texas 75071 or wherever he may be

found.

         7.   Officer 2 is a police officer with the McKinney Police Department whose

identify will be discovered in the course of this action and who may be served with

process at 2200 Taylor Burk Dr., McKinney, Texas 75071 or wherever he may be

found.

         8.   Officer 3 is a police officer with the McKinney Police Department whose

identify will be discovered in the course of this action and who may be served with

process at 2200 Taylor Burk Dr., McKinney, Texas 75071 or wherever he may be

found.

                                    II.
                          JURISDICTION AND VENUE

         9.   This Court has subject matter jurisdiction over this action pursuant to

28 U.S.C. § 1331 because this case arises under the Constitutional and laws of the



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United States.    This Court also has subject matter jurisdiction over this action

pursuant to 28 U.S.C. 1343 because this actions alleges deprivations of constitutional

rights, including a conspiracy to deprive or failure to prevent or render aid regarding

such deprivations.

      10.    This Court has personal jurisdiction over defendants because they are

residents of the State of Texas.

      11.    Venue is proper in this district because one or more Defendants reside

in this district and the events from which this action arises occurred in this district.

                                    III.
                           CONDITIONS PRECEDENT

      12.    All conditions precedent to this action have occurred.

                                     IV.
                            FACTUAL ALLEGATIONS

      13.    Plaintiffs Kevin Whitt and Andrea Collard Gonzales decided to attend

the MISD Board meeting held on April 26, 2022 at the MISD Community Event

Center, located at 4201 S. Hardin Blvd., McKinney, Texas 75070.

      14.    Plaintiffs attended because they had learned that parents with children

in McKinney Independent School District (“MISD”) schools had identified numerous

books in the MISD school libraries that contain sexually explicit and obscene material

inappropriate for minor children, and they wished to express their opinions to the

MISD Board that the books at issue should be removed from MISD school libraries

to protect children




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      15.    At the outset of the meeting, Defendant Amy Dankel, the President of

the MISD Board, announced that, during the public comment segment of the meeting,

no public applause or any other sound would be tolerated from the public. Dankel

stated that the only expression allowed at the meeting would be for the public to raise

a hand silently if they agreed with what a speaker said. There was also a sign present

upon entry into the meeting stating “No Signs Permitted” to restrict the public from

bringing in signs to express their views. Upon information and belief, Amy Dankel

directed this sign to be displayed.

      16.    There were several McKinney Police officers present in the room during

the meeting. Dankel announced that the McKinney Police would remove any member

of the public who violated her edict regarding applause and noise during the public

comment segment of the meeting. Dankel designated John Doe to point out which

members of the crowd were violating the rules she set so that the McKinney Police

would know who to remove.

      17.    Plaintiffs Whitt and Gonzales were not able to hear Dankel’s

announcement of rules because the crowd was so large, they were not able to make it

into the room when the announcement was made. Despite a large turnout from the

public at the meeting, a removable wall in the meeting hall was in place to reduce the

size of the meeting hall. This wall is not typically in place for MISD Board meetings.

The presence of the wall drastically reduced the size of the area available to the public

and had no apparent purpose other than to arbitrarily limited the amount of people

that could fit into the meeting.




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      18.    The crowd present at the meeting consisted almost entirely of two

groups. One group wore green apparel to show support for MISD Board Trustee,

Chad Green, who is a member of the MISD Board that has been speaking out in public

to oppose the existence of sexually explicit books in MISD school libraries. Those

wearing the color green were, in effect, making a statement that they supported

removal of the books in question. The other group present at the meeting wore blue

as a sign that they opposed removal of the books.

      19.    Despite the rules Dankel announced, members of the public wearing

both green and blue did clap and make statements and noises in support of or in

opposition to several speakers during the public comment segment of the meeting.

Despite the obvious and apparent fact that members of both groups were clapping

and making noises, John Doe only pointed out individuals in the crowd wearing green

for removal from the meeting.       The McKinney Police officers removed those

individuals by force. Not a single individual in the crowd wearing blue was identified

and removed despite displaying similar behavior to those wearing green.

      20.    During the public comment segment of the meeting, Whitt got up to

speak for 1 minute at the podium to state his support for the removal of sexually

explicit books from the MISD school libraries, pursuant to a 1-minute time limit

Dankel had set for public comments.

      21.    Sometime after Whitt spoke, a woman read an excerpt from one of the

books in the MISD school libraries that described a graphic sexual scene involving

minors.




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      22.      After the woman was finished reading the passage and her time was up,

Whitt said the word “disgusting.” Upon hearing Whitt’s comment, Dankel stopped

the meeting and asked John Doe to point out who had made the comment. John Doe

pointed out Whitt, and Dankel instructed the McKinney Police to remove Whitt from

the meeting.

      23.      Officers 1 and 2 approached Whitt who made the following statements

or substantially similar statements: “This is the United States of America. I have a

right to freedom of speech. I’m not leaving.” Officers 1 and 2 then put their hands

on Whitt and began pushing him out the door.

      24.      Officers 1 and 2 kept pushing Whitt toward the stairs and the public

could hear Whitt loudly protesting the officers’ actions in removing him. When Whitt

reached the stairs, he informed the officers that he needed to take the elevator

because he has a serious medical condition that prevents him from safely taking

stairs and asked to go down the elevator. Officers 1 and 2 refused to let Whitt take

the elevator, stating “just go down the stairs” until a third police officer intervened

and allowed Whitt take the elevator to exit the building.

      25.       Gonzales was also listening to the public comments while awaiting her

turn to speak. Gonzales heard a man close to her say the word “amen” in response to

one of the public comments. Officer Cherrie Silas approached this man and a female

who was with him. The female appeared nervous and so Gonzales made a statement

to the female in front of Officer Silas regarding First Amendment constitutional

rights and rights conferred to the public by the Texas Open Meetings Act.




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      26.    Officer Silas then turned her attention to Gonzales who asked why Silas

was approaching her and informed Silas that she, Gonzelez, was there to speak at

the meeting. Gonzales showed Officer Silas the form she had been required to fill out

in order to speak. Then, without warning, Officer Silas grabbed Gonzales’s arm with

such force that it caused pain to Gonzales and, with the help of Officer 3, lifted

Gonzales off her feet and carried her out of the meeting, depriving her of the

opportunity to speak at the meeting.

      27.    Gonzales asked both officers why she was being removed and what crime

she had committed. Neither gave her an answer.

      28.    Upon information and belief, John Doe had pointed at Gonzales prior to

the officers removing her from the meeting.

      29.    At one point in the meeting, a man named Samuel Hall had spoken in

opposition to the books. He made a comment out loud after another speaker and

removed himself from the meeting before Dankel, John Doe, and the McKinney Police

had the opportunity to remove him.

      30.    While Hall was walking out, numerous individuals wearing blue clapped

loudly. Those wearing green protested to Dankel that these individuals had violated

the rules announced by Dankel and that they should be removed since several green-

shirted members of the crowd had been removed for clapping.

      31.    Dankel refused to apply the rule to the blue-shirted members of the

crowd and allowed them to stay. Dankel did not order the removal of a single member

of the public wearing blue from the meeting despite the fact that many of these




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individuals violating Dankel’s rule equally as much as green-shirted individuals.

John Doe never pointed at any blue-shirted member of the crowd and the McKinney

Police never removed any blue-shirted individuals.

                                     V.
                              CAUSES OF ACTION

   A. COUNT ONE – 42 U.S.C. § 1983: Conspiracy and conduct to deprive of
      rights guaranteed by the First Amendment to the Constitution and in
      retaliation for the free exercise thereof.

      32.    Plaintiffs incorporate all factual allegations contained in the foregoing

paragraphs as though fully set forth herein.

      33.    At the MISD Board meeting, Plaintiffs were private citizens who spoke

or intended to speak as to a matter of public concern at a meeting held by local

government officials where citizens are allowed to peaceably assemble, associate, and

engage in free speech as to matters of public concern.

      34.    The presence of sexually explicit books in MISD school libraries is a

matter of public concern.

      35.    Plaintiffs exercised or intended to exercise their First Amendment

rights to free speech, peaceable assembly, freedom of association, and/or to petition

the government for a redress of grievances.

      36.    Plaintiffs’ interest in exercising their First Amendment rights at the

MISD Board meeting as to the matter of the sexually explicit books outweighs any

interest of the MISD Board in promoting the efficient operation and administration

of government services.




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      37.    Defendants acted in concert to deprive Plaintiffs of their protected First

Amendment rights by imposing arbitrary and capricious rules restricting their

freedom of speech, freedom to peaceably assemble, freedom of association, and

freedom to petition the government for redress of grievance including rules that (1)

prohibiting Plaintiffs from bringing signs into the meeting to express their

viewpoints, (2) imposing rules prohibiting clapping and comments in response to

statements by speakers, (3) by limiting the time of each speaker to 1 minute, and (4)

by using the removable wall to limit the amount of space available for the public to

attend the meeting in order to restrict the number of persons who were able to enter

the meeting, which had the effect of restricting Plaintiffs from entering the meeting

at the outset.

      38.    Defendants further acted in concert to deprive Plaintiffs of their

protected First Amendment rights and/or in retaliation for the free exercise of those

rights by forcefully removing Plaintiffs from the meeting.

      39.    Defendants specifically targeted Plaintiffs for removal from the meeting

in retaliation for exercising their First Amendment right to engage in free speech,

freedom to associate, and freedom to petition the government for redress of grievances

in opposition to the presence of sexually explicit books in MISD school libraries.

      40.    Defendants’ actions would deter a person of ordinary firmness from

continuing to engage in protected First Amendment rights.

      41.    Defendants’ decisions to act in concert to violate Plaintiffs’ clearly

establish constitutional rights was not objectively reasonable in light of the




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circumstances because none of Plaintiffs’ protected actions or intended protected

actions would have disrupted the efficient operation and administration of

government services.

      42.     Defendants had no compelling government interest to justify imposing

the rules that they imposed at the meeting or in removing Plaintiffs from the meeting.

      43.     Defendants acted willfully, deliberately, maliciously, or with reckless

disregard for Plaintiffs’ First Amendment rights.

      44.     Defendants acted under color of the laws and regulations of the State of

Texas, the MISD Board, and the City of McKinney in carrying out the deprivations

of First Amendment rights described herein. Dankal was acting in the course and

scope of her duties as the President of the MISD Board. John Doe was acting in the

course and scope of his duty as an employee of MISD. The police officers were acting

in the course and scope of their duties as police officers with the McKinney Police

Department.

   B. COUNT 2 – 42 U.S.C. § 1983: Gonzales’s excessive force claim against
      Police Officers.

      45.     Plaintiffs incorporate all factual allegations contained in the foregoing

paragraphs as though fully set forth herein.

      46.     Officer Silas and Officer 3 used unreasonable, unnecessary, and

excessive force against Gonzales when Officer Silas forcefully and aggressively

grabbed Gonzales’s arm, without warning, and when she and Officer 3 carried and/or

dragged Gonzales from the MISD Board meeting, causing her physical pain and

public humiliation.



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   C. COUNT 3 – 42 U.S.C. § 1983: Deprivation of the right to equal
      protection under the Fourteenth Amendment.

      47.    Plaintiffs incorporate all factual allegations contained in the foregoing

paragraphs as though fully set forth herein.

      48.    By only applying the rules Dankel announced for the meeting to remove

Plaintiffs and other wearing green showing their support for removal of sexually

explicit books while refusing to apply the same rules to those wearing blue at the

meeting, Defendants acted in concert to deprive Plaintiffs of their right to equal

protection of the law, as guaranteed by the Fourteenth Amendment.

      49.    Defendants acted willfully, deliberately, maliciously, or with reckless

disregard for Plaintiffs’ Fourteenth Amendment equal protection rights.

      50.    Defendants acted under color of the laws and regulations of the State of

Texas, the MISD Board, and the City of McKinney in carrying out the deprivations

of Fourteenth Amendment rights described herein. Dankal was acting in the course

and scope of her duties as the President of the MISD Board. John Doe was acting in

the course and scope of his duty as an employee of MISD. The police officers were

acting in the course and scope of their duties as police officers with the McKinney

Police Department.

                                       V.
                                    DAMAGES

      51.    Plaintiffs incorporate all factual allegations contained in the foregoing

paragraphs as though fully set forth herein.




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      52.       As a direct and proximate result of Defendants’ actions in depriving

Plaintiffs of their constitutional rights and in retaliating against them for the free

exercise thereof, Plaintiffs suffered mental anguish in the past and future and

damage to their reputations in the past and future.

                                      VI.
                             ATTORNEYS FEES & COSTS

      53.       Plaintiff is entitled to an award of attorneys’ fees and costs under 42

U.S.C. § 1988(b).

                                           VII.
                                         PRAYER

      54.       WHEREFORE, Plaintiffs pray for judgment against Defendants for the

following:

             a. An award of nominal, compensatory, and punitive damages to Plaintiffs
                from all Defendants, jointly and severally, for their actions in violating
                Plaintiffs’ constitutional rights;

             b. Reasonable and necessary attorneys’ fees, costs, and expenses;

             c. Permanent injunctive relief restraining Defendants from imposing
                similar restraints on their constitutional rights in the future; and

             d. All other and further relief to which Plaintiffs may be justly entitled.

                                           Respectfully submitted,

                                           /s/ Paul M. Davis
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